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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                     2/22/2021


 United States of America,

                –v–
                                                                               18-cr-224 (AJN)
 Ali Sadr Hashemi Nejad,
                                                                                   ORDER
                       Defendant.




ALISON J. NATHAN, District Judge:

       On February 17, 2021, the Court issued an Opinion in this case under temporary seal to

allow the prosecutors an opportunity to propose redactions to the Opinion. The Court has

received no redaction requests and thus lifts the temporary seal on its February 17 Opinion.



       SO ORDERED.


Dated: February 22, 2021                           __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge
